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              IN THE UNITED STATES COURT OF INTERNATIONAL TRADE


 ALUMINUM EXTRUSIONS FAIR
 TRADE COMMITTEE,

                                  Plaintiff,          Before: Hon.

                         v.                           Court No. 22-00236

 UNITED STATES,

                                  Defendant.


                                               ORDER

          Upon consideration of Plaintiff Aluminum Extrusions Fair Trade Committee’s (“Plaintiff”)

Motion for a Preliminary Injunction, and all other papers and proceedings herein, it is hereby

          ORDERED that Plaintiff’s Motion for a Preliminary Injunction is GRANTED; and it is

further

          ORDERED that Defendant, United States, together with the delegates, officers, agents,

and employees of the United States Customs and Border Protection (“U.S. CBP”), shall be, and

are hereby, ENJOINED, pending a final and conclusive court decision in this litigation, including

all appeals and remand proceedings, from causing or permitting liquidation of unliquidated entries

of aluminum extrusions from the Dominican Republic that:

   •      were subject to Enforce and Protect Act Investigation Number 7550, Letter from Brian M.
          Hoxie, Director, Enforcement Operations Division, Trade Remedy & Law Enforcement
          Directorate, CBP Office of Trade, re: Notice of Final Determination as to Evasion (Feb. 4,
          2022), and the subsequent de novo administrative review, Letter from Wiley R. Beevers,
          Chief, Cargo Security, Carriers & Restricted Merchandise Branch, Regulations & Rulings,
          Office of Trade, U.S. CBP, re: Enforce and Protect Act (“EAPA”) Case Number 7550;
          Aluminum Extrusions from the People’s Republic of China: Antidumping Duty Order, 76
          FR 30650 (May 26, 2011) and Aluminum Extrusions from the People’s Republic of China:
          Countervailing Duty Order, 76 FR 30653 (May 26, 2011); Kingtom Aluminio SRL; 19
          U.S.C. § 1517 (June 29, 2022);
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   •    were entered, or withdrawn from warehouse for consumption, on or after January 8, 2020
        up to and including the date of the final and conclusive court decision in this litigation,
        including all appeals and remand proceedings;

   •    were imported by Kingtom Aluminio S.R.L.;

   •    remain unliquidated as of 5:00 p.m. on the day the Court enters this order on the docket in
        this case.

        And it is further

        ORDERED that this injunction shall dissolve upon entry of a final court decision in this

litigation, including all appeals and remand proceedings, and that the entries covered by this

injunction shall be liquidated in accordance with that final decision.


Date:
         New York, New York                                                 Judge




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           IN THE UNITED STATES COURT OF INTERNATIONAL TRADE


 ALUMINUM EXTRUSIONS FAIR
 TRADE COMMITTEE,

                                Plaintiff,          Before: Hon.

                       v.                           Court No. 22-00236

 UNITED STATES,

                                Defendant.


                       MOTION FOR PRELIMINARY INJUNCTION

       Pursuant to Rules 7, 56.2(a), and 65(a) of the Rules of the United States Court of

International Trade, Plaintiff Aluminum Extrusions Fair Trade Committee (“Plaintiff”), by and

through its attorneys, respectfully moves this Court to preliminarily enjoin the Defendant, the

United States, together with its delegates, officers, agents, servants, and employees of the United

States Customs and Border Protection (“CBP”), pending a final and conclusive court decision in

this litigation, from causing or permitting liquidation of unliquidated entries of aluminum

extrusions from the Dominican Republic that:

   •   were subject to Enforce and Protect Act Investigation (“EAPA”) Number 7550, Letter from
       Brian M. Hoxie, Director, Enforcement Operations Division, Trade Remedy & Law
       Enforcement Directorate, CBP Office of Trade, re: Notice of Final Determination as to
       Evasion (Feb. 4, 2022), and the subsequent de novo administrative review, Letter from
       Wiley R. Beevers, Chief, Cargo Sec., Carriers & Restricted Merchandise Branch,
       Regulations & Rulings, Off. of Trade, U.S. CBP, re: Enforce and Protect Act (“EAPA”)
       Case Number 7550; Aluminum Extrusions from the People’s Republic of China:
       Antidumping Duty Order, 76 FR 30650 (May 26, 2011) and Aluminum Extrusions from the
       People’s Republic of China: Countervailing Duty Order, 76 FR 30653 (May 26, 2011);
       Kingtom Aluminio SRL; 19 U.S.C. § 1517 (June 29, 2022) (“Administrative Review
       Determination”);

   •   were entered, or withdrawn from warehouse for consumption, on or after January 8, 2020
       up to and including the date of the final and conclusive court decision in this litigation,
       including all appeals and remand proceedings;
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     •   were imported by Kingtom Aluminio S.R.L. (“Kingtom”);

     •   remain unliquidated as of 5:00 p.m. on the day the Court enters this order on the docket in
         this case.

         The Court has the authority to grant the requested injunctive relief pursuant to 28 U.S.C.

§ 1585. As discussed in Plaintiff’s Complaint, Plaintiff is a coalition of U.S. producers of

aluminum extrusions and is an interested party as defined in 19 U.S.C. § 1517(a)(6)(A)(iv).

Plaintiff was also a participant in CBP’s underlying Enforce and Protect Act (“EAPA”)

investigation and subsequent de novo administrative review. Plaintiff filed the allegation of

evasion that resulted in the initiation of the underlying investigation. Accordingly, Plaintiff has

standing to commence this action pursuant to 19 U.S.C. § 1517(g).

         This motion is timely filed. Pursuant to Rule 56.2(a) of this Court, “{a}ny motion for a

statutory injunction . . . to enjoin the liquidation of entries that are the subject of the action must

be filed by a party to the action within 30 days after service of the complaint, or at such later time,

for good cause shown.” Plaintiff’s Complaint was timely filed and served on August 11, 2022.

Accordingly, this motion is timely.

I.       LEGAL STANDARD FOR PRELIMINARY INJUNCTION

         In order to prevail on a motion for a preliminary injunction, the moving party must show

that: (1) without the requested relief, Plaintiff will be immediately and irreparably injured; (2) the

balance of hardships on the parties favors Plaintiff; (3) Plaintiff is likely to succeed on the merits;

and (4) the public interest would be better served by granting the requested relief. See U.S. Ass’n

of Imps. of Textiles & Apparel v. United States, 413 F.3d 1344, 1346 (Fed. Cir. 2005); Zenith Radio

Corp. v. United States, 710 F.2d 806, 809 (Fed. Cir. 1983).

         As demonstrated below, the criteria for issuing an injunction are satisfied in this case.

Specifically, absent an injunction preventing liquidation, CBP will liquidate the relevant entries,



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and could deprive Plaintiff of its right to meaningful judicial review of the challenged final

administrative determination. Accordingly, an injunction to prevent liquidation is sought until a

final judicial resolution of this action.

        A.      Plaintiff Will Be Immediately and Irreparably Injured Without the Requested
                Injunctive Relief Against Liquidation

        Plaintiff will be immediately and irreparably harmed unless this preliminary injunction is

granted. Courts have previously held that the prospect of mootness due to the liquidation of entries

constitutes grounds for finding immediate and irreparable harm in the absence of an injunction.

See Nucor Corp. v. United States, 29 CIT 1452, 1461, 412 F. Supp. 2d 1341, 1349 (2005); see also

Canadian Wheat Bd. v. United States, 31 CIT 650, 491 F. Supp. 2d 1234 (2007). Liquidating the

subject entries prior to the resolution of this proceeding could render Plaintiff’s claims moot if it

eliminates Plaintiff’s only available remedy in an action contesting the results of a final

determination. See Zenith, 710 F.2d at 810 (noting that “the consequences of liquidation {faced by

the domestic producer} do constitute irreparable injury.”); Carpenter Tech. Corp. v. United States,

31 CIT 1, 8, 469 F. Supp. 2d 1313, 1320 (2007). Indeed, preliminary injunctions issue “almost

reflexively” in proceedings like this to avoid depriving a party of the opportunity for meaningful

judicial review. See Nucor Corp., 29 CIT at 1459, 412 F. Supp. 2d at 1348; see also Qingdao Taifa

Grp. Co. v. United States, 581 F.3d 1375, 1378 (Fed. Cir. 2009) (“It has long been established that

liquidation of entries after a final determination of duties for a particular period, before the merits

can be litigated, is sufficient harm.”) (citing Zenith, 710 F.2d at 810).

        In this action, Plaintiff is challenging the reversal by CBP, Office of Trade (“OT”),

Regulations and Rulings (“Regulations and Rulings”), of the initial determination of evasion made

by the CBP OT Trade Remedy & Law Enforcement Directorate with respect to entries of

aluminum extrusions. See Administrative Review Determination at 11-12. As detailed in



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Plaintiff’s Complaint, duties were collected on Kingtom’s entries of aluminum extrusions. If these

entries are not suspended and liquidated without paying the AD/CVD duties as indicated in the

reversal, Plaintiff will not be able litigate this appeal, thereby undermining the relief owed to the

domestic industry. In this instance, absent an injunction, CBP will proceed with liquidation of

certain subject entries on the basis of determinations that Plaintiff alleges were arbitrary,

capricious, an abuse of discretion, and other not in accordance with law.

        B.      The Balance of Hardships Favors Plaintiff

        Balancing the hardships that each party would suffer necessarily requires this Court to

determine which party would be most adversely affected by the decision to either grant or deny a

preliminary injunction. See Ugine-Savoie Imphy v. United States, 24 CIT 1246, 1250, 121 F. Supp.

2d 684, 688-89 (2000); see also Kwo Lee, Inc. v. United States, 24 F. Supp. 3d 1322, 1331 (Ct.

Int’l Trade 2014); Canadian Wheat Bd., 31 CIT at 663, 491 F. Supp. 2d at 1247. Here, any hardship

to other parties that would be caused by a delay in liquidation is outweighed by the irreparable

harm to Plaintiff that would occur if an injunction were denied. As discussed above, the denial of

injunctive relief could deprive Plaintiff of its statutory right to challenge the final administrative

determination in light of the Court’s precedent.

        By contrast, neither Defendant United States nor any prospective defendant-intervenor will

suffer any hardship as a result of the Court granting the requested injunction. As this Court has

observed, suspension of liquidation is, at most, an “inconvenience” to the Government. See Timken

Co. v. United States, 6 CIT 76, 81, 569 F. Supp. 65, 70-71 (1983). Similarly, any interested private

party would only be inconvenienced by a delay in liquidation. If any refunds of duties are

ultimately owed to private parties, they will receive the amounts with interest, thereby

compensating for any delay. See 19 U.S.C. § 1677g(a). Thus, the balance of hardships clearly

favors Plaintiff.


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       C.      Plaintiff is Likely to Prevail on the Merits

        Plaintiff is likely to succeed on the merits of its case-in-chief. Where, as here, irreparable

injury is firmly established, “it will ordinarily be sufficient that the movant has raised questions

which are ‘serious, substantial, difficult and doubtful.’” Timken Co., 6 CIT at 80, 569 F. Supp. at 70;

see also Qingdao Taifa Grp., 581 F.3d at 1378-79 (“A request for a preliminary injunction is

evaluated in accordance with a ‘sliding scale’ approach: the more the balance of irreparable harm

inclines in the plaintiff’s favor, the smaller the likelihood of prevailing on the merits he need show

in order to get the injunction.” (quoting Kowalski v. Chi. Tribune Co., 854 F.2d 168, 170 (7th Cir.

1988))).

        In its Complaint filed in this proceeding, Plaintiff raises such questions. As detailed in

Plaintiff’s Complaint, CBP’s final administrative determination is arbitrary, capricious, an abuse

of discretion, and otherwise not in accordance with law. Specifically, in the case at bar, Regulations

and Rulings exceeded CBP’s authority in interpreting the scope of the antidumping and

countervailing duty orders at issue and concluding that Kingtom did not evade the Orders.

        As discussed above and as will be further detailed in Plaintiff’s Rule 56.2 Brief,

Regulations and Ruling’s final administrative determination is arbitrary, capricious, an abuse of

discretion, and is otherwise not in accordance with law, with respect to the claims advanced by

Plaintiff in its Complaint. Plaintiff respectfully submits that it has therefore satisfied the standard

for demonstrating the likelihood of success on the merits in a case such as this, where the other

requisites of an injunction are met.

       D.      Granting an Injunction Will Serve the Public Interest

        The public interest is best served by effective enforcement of the trade laws and by

ensuring that accurate duties are assessed on entries covered by antidumping and countervailing

duty orders. See Smith-Corona Grp. Consumer Prods. Div. v. United States, 1 CIT 89, 98, 507 F.


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Supp. 1015, 1023 (1980), aff’d, 713 F.2d 1568 (Fed. Cir. 1983), cert. denied, 465 U.S. 1022 (1984)

(stating that the public interest is served “by the procedural safeguard of an injunction pendente

lite to maintain the status quo of the unliquidated entries until a final resolution of the merits”);

see also Kwo Lee, Inc., 24 F. Supp. 3d at 1332 (“The public interest is served by the accurate and

effective, uniform and fair enforcement of trade laws”) (citing Union Steel v. United States, 33

CIT 614, 622, 617 F. Supp.2d 1373, 1381 (2009); Ceramica Regiomontana, S.A. v. United States,

7 CIT 390, 397, 590 F. Supp. 1260, 1265 (1984)). Indeed, the very purpose of the EAPA is to

investigate the evasion of antidumping and countervailing duty orders. See 19 U.S.C. § 1517.

        In this case, absent an injunction, the final administrative determination will result in

liquidation of certain entries when, as a matter of law and fact, the decision is flawed, in part. The

public interest would be ill-served by permitting liquidation of entries without judicial review

under these circumstances. In contrast, the public interest would be well-served by enjoining

liquidation of entries, maintaining the status quo, and allowing a resolution of the issues presented

on their merits.

        Accordingly, the public interest is served here by enjoining liquidation of the entries at

issue in the final administrative determination pending a final and conclusive court decision in this

litigation.

II.     CONSENT OF THE PARTIES

        Pursuant to Rules 7(b) and 7(f) of the Rules of this Court, on August 11, 2022, counsel for

Plaintiff contacted Defendant the United States by email regarding consent for this motion.

On August 15, 2022, Counsel for Defendant the United States, Mr. Alexander Vanderweide,

informed Plaintiff that Defendant consents only to the exact terms of the attached proposed

order, pursuant to the framework established in Qingdao Taifa Group Co., Ltd. v. United States,

581 F.3d 1375, 1378-82 (Fed. Cir. 2009). Therefore, without conceding any likelihood of

Plaintiff’s success on
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the merits and notwithstanding the USCIT Rule 65 factors for issuance of ordinary injunctions,

Defendant consents to Plaintiff’s injunction. Defendant has also consented to Plaintiff’s request

that the preliminary injunction extend pending a final and conclusive court decision in this

litigation, including all appeals and remand proceedings.

III.   CONCLUSION

       For the foregoing reasons, Plaintiff respectfully requests that its motion for a preliminary

injunction against liquidation be granted.


                                                     Respectfully submitted,
                                                     /s/ Robert E. DeFrancesco, III
                                                     Robert E. DeFrancesco, III, Esq.
                                                     Elizabeth S. Lee, Esq.
                                                     Claire M. Webster, Esq.

                                                     WILEY REIN LLP
                                                     2050 M Street, NW
                                                     Washington, DC 20036
                                                     (202) 719-7000

                                                     Counsel for Aluminum Extrusions Fair
                                                     Trade Committee

Date: August 15, 2022




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